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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
                                       ATLANTA DIVISION

IN RE:                                                )        CHAPTER 7
                                                      )
JOSEPH M. KOZAK,                                      )        CASE NO. 18-60076-PMB
                                                      )
         Debtor.                                      )        JUDGE PAUL BAISIER
                                                      )
---------------------------------------------------------------------------------------------------------------------
                                                      )
WHITE COLUMNS COMMUNITY                               )
ASSOCIATION, INC.,                                    )
                                                      )
         Movant,                                      )
                                                      )
v.                                                    )        CONTESTED MATTER
                                                      )
JOSEPH M. KOZAK and                                   )
ROBERT TRAUNER (as Trustee),                          )
                                                      )
         Respondents.                                 )
                                                      )


                                          NOTICE OF HEARING


        PLEASE TAKE NOTICE that White Columns Community Association, Inc.
(“Movant”) has filed a Motion for Relief from Stay and related papers with the Court seeking an
order stating that the automatic stay pursuant to 11 U.S.C. § 362 shall be modified to permit
Movant to permit Movant to enforce all land covenants, including proceeding with foreclosure of
Movant’s statutory lien by way of initiating or continuing a judicial foreclosure action in the
state court system.

       PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the Motion
for Relief from Stay in Courtroom 1202, United States Courthouse, 75 Ted Turner Drive, S.W.,
Atlanta, Georgia, 30303 at 1:30 P.M. on October 1, 2018.

        Your rights may be affected by the court’s ruling on these pleadings. You should read
these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy
case. (If you do not have an attorney, you may wish to consult one.) If you do not want the
court to grant the relief sought in these pleadings or if you want the court to consider your views,
then you and/or your attorney must attend the hearing. You may also file a written response to
the pleading with the Clerk at the address stated below, but you are not required to do so. If you
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file a written response, you must attach a certificate stating when, how, and on whom (including
addresses) you served the response. Mail or deliver your response so that it is received by the
Clerk at least two business days before the hearing. The address of the Clerk’s Office is:

       Clerk, U.S. Bankruptcy Court
       75 Ted Turner Drive, Suite 1340
       Atlanta, GA 30303

You must also mail a copy of your response to the undersigned at the address stated below.

If a hearing on the Motion for Relief from the Automatic Stay cannot be held within thirty (30)
days, Movant waives the requirement for holding a preliminary hearing within thirty (30) days of
filing the Motion and agrees to a hearing on the earliest possible date. Movant consents to the
Automatic Stay remaining in effect until the Court orders otherwise.


       Respectfully submitted, this 22nd day of August, 2018.


                                                   LUEDER, LARKIN & HUNTER, LLC


                                            By:    __/s/_Daniel E. Melchi_________________
                                                   Daniel E. Melchi
                                                   Georgia Bar No. 501187
                                                   Attorneys for the Movant

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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF GEORGIA
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IN RE:                                                )        CHAPTER 7
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JOSEPH M. KOZAK,                                      )        CASE NO. 18-60076-PMB
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         Debtor.                                      )        JUDGE PAUL BAISIER
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WHITE COLUMNS COMMUNITY                               )
ASSOCIATION, INC.,                                    )
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         Movant,                                      )
                                                      )
v.                                                    )        CONTESTED MATTER
                                                      )
JOSEPH M. KOZAK and                                   )
ROBERT TRAUNER (as Trustee),                          )
                                                      )
         Respondents.                                 )
                                                      )


                                 MOTION FOR RELIEF FROM STAY


         COMES NOW, White Columns Community Association, Inc. (“Movant”), by and

through counsel, Lueder, Larkin & Hunter, LLC, and files this Motion for Relief from Stay

seeking to have the stay of 11 U.S.C. § 362(a) lifted, modified, or terminated, stating as follows:

                                                         1.

         On June 16, 2018, Debtor filed a Chapter 7 bankruptcy petition in this Court, creating the

instant case herein.
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                                                         2.

         Debtor was, at the time of the Chapter 7 petition, and is now the owner of real property in

White Columns community, the address being 723 Golf Vista Court, Alpharetta, Georgia, 30004

(“Property”).

                                                         3.

         As the owner of the Property, the Debtor is subject to all terms, conditions, and

requirements of the duly recorded Master Declaration of Protective Covenants, Conditions and

Restrictions for White Columns (“Declaration”) and the Georgia Property Owners’ Association

Act (“Act”). (Exhibit “A” and O.C.G.A. § 44-3-232(a)).

                                                         4.

         Pursuant to the Declaration and the Act, Debtor is required to pay to Movant assessments

as Debtor’s share of the common expenses of maintenance of the Property and the operation of

Movant, a non-profit corporation. Id.

                                                         5.

         Movant has a statutory lien on the Property due to non-payment of assessments totaling

$2,810.22 as of August 22, 2018.               (Exhibits “B-1” 1, “B-2” 2, and “C” 3).   Debtor’s sworn

Statement of Intention filed in in this case does not list Movant’s name as a secured claim holder

regarding the Property, and Debtor has made no effort to enter into a Reaffirmation Agreement

with Movant. Consequently, cause exists pursuant to 11 U.S.C. § 362(d)(1) for the stay to be

lifted to allow Movant to exercise Movant’s rights under state law to foreclose Movant’s

statutory lien on the Property. Additional cause exists pursuant to 11 U.S.C. § 362(d)(1) because

Debtor has not paid the post-petition amounts owed in the amount of $817.50. (Exhibit “B-2”).

1
  Pre-petition assessments (principal) and charges (including interest): $843.72.
2
  Post-petition assessments (principal and charges (including interest): $817.50.
3
  Post-petition attorney’s fees: $968.00; court costs: $181.00.
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                                                6.

       Movant has a statutory lien on the Property due to non-payment of assessments totaling

$2,810.22 as of August 22, 2018. (Exhibits “B-1”, “B-2”, and “C”). Debtor’s sworn Schedule

A/B values Debtor’s interest in the Property at $916,000.00. Debtor’s sworn Schedule D lists the

following secured creditors whose claims are secured by the Property:

   1. Georgia Department of Revenue (listed three times, totaling): $99,523.37

   2. Internal Revenue Service (listed two times, totaling): $191,000.00

   3. JPMorgan Chase Bank, N.A.: $844,764.00

   4. Real Time: $214,544.00

   5. Movant: Whose lien is actually $2,810.22, less than the amount listed twice in Sections

       2.10 and 2.11 of Schedule D.

   A. Total Liens on Property, according to Debtor’s sworn Schedules and corrected lien

       amount provided by Movant on Movant’s lien: $1,352,641.50

   B. Total share of Debtor’s equity interest in the Property, per Debtor’s sworn Schedules and

       corrected lien amount provided by Movant on Movant’s lien: <$436,641.50>

Debtor asserts that there is no equity in the Property, according to Debtor’s sworn Schedules A/B

and D. The Property is not a benefit to the bankruptcy estate. This case is a Chapter 7

liquidation case, not a Chapter 11, Chapter 12, or Chapter 13 reorganization case. Consequently,

cause exists pursuant to 11 U.S.C. § 362(d)(2) for the stay to be lifted to allow Movant to

exercise Movant’s rights under state law to foreclose the statutory lien on the Property.
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                                                7.

      Additional information required by this Court:

   a. Creditor is authorized under the Declaration and Act to enforce the provisions of the

      Declaration and Act, including the right to foreclose Creditor’s statutory lien on the

      Property.

   b. The amount of principal and interest owed as of the date of this Motion is alleged in

      Paragraphs 5 and 6 (above).

   c. Debtor has missed approximately one pre-petition HOA assessment and one post-petition

      HOA assessment. The aggregate amounts are listed in Paragraphs 5 and 6 (above).

   d. Debtor values the property at $916,000 on Debtor’s sworn Schedule A. Creditor does not

      know the exact value of the Property because Creditor is a homeowners association’s lien

      holder and not a real estate appraiser.

   e. There is no other collateral supporting the debt Creditor seeks to foreclose upon.

   f. Debtor lists liens totaling $1,352,641.50 which encumber the Property on Debtor’s sworn

      Schedule D.

      WHEREFORE, Movant moves that this Honorable Court ORDER:

      (a) that the automatic stay pursuant to 11 U.S.C. § 362(a) be LIFTED, MODIFIED, or

          TERMINATED pursuant to 11 U.S.C. §§ 362(d)(1) and 362(d)(2) to permit Movant

          to enforce all land covenants related to the Property, including proceeding with

          foreclosure of Movant’s statutory lien by way of initiating or continuing a judicial

          foreclosure action in the state court system; and

      (b) that the stay of F.R.B.P. 4001(a)(3) be WAIVED; and

      (c) that any such further relief as the Court may deem just and proper be GRANTED.
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      Respectfully submitted, this 22nd day of August, 2018.


                                                 LUEDER, LARKIN & HUNTER, LLC


                                          By:    __/s/_Daniel E. Melchi_________________
                                                 Daniel E. Melchi
                                                 Georgia Bar No. 501187
                                                 Attorneys for the Movant



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v.                                                    )        CONTESTED MATTER
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JOSEPH M. KOZAK and                                   )
ROBERT TRAUNER (as Trustee),                          )
                                                      )
         Respondents.                                 )
                                                      )


                                      CERTIFICATE OF SERVICE


         This is to certify that I have this day served a copy of the within and foregoing Motion for

Relief from Stay and Notice of Hearing upon the opposing parties in this matter by depositing a

copy of the same in the United States mail, with adequate postage thereon, addressed as follows:

Joseph M. Kozak
723 Golf Vista Court
Alpharetta, GA 30004

William Anderson Rountree
c/o Rountree & Leitman, LLC
2800 North Druid Hills Road, Bldg. B, Suite 100
Atlanta, GA 30329
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Robert Trauner, Chapter 7 Trustee
P.O. Box 421025
Atlanta, GA 30342

R. Jeneane Treace
c/o Office of U.S. Trustee
75 Ted Turner Drive, S.W., Suite 362
Atlanta, GA 30303


       Respectfully submitted, this 22nd day of August, 2018.


                                                  LUEDER, LARKIN & HUNTER, LLC


                                           By:    __/s/_Daniel E. Melchi_________________
                                                  Daniel E. Melchi
                                                  Georgia Bar No. 501187
                                                  Attorneys for the Movant

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